   Case 8:19-cv-02438-JVS-DFM Document 160 Filed 09/28/22 Page 1 of 3 Page ID #:5991

                                       Office of the Clerk
                      United States Court of Appeals for the Ninth Circuit
                                     Post Office Box 193939
                              San Francisco, California 94119-3939
                                          415-355-8000
Molly C. Dwyer
Clerk of Court                         September 28, 2022


       No.:                     22-55895
                                8:19-cv-02438-JVS-DFM,
       D.C. Nos.:               8:20-cv-00459-JVS-DFM,
                                8:21-cv-00937-JVS-DFM,
       Short Title:             Heather Blanchard, et al v. County of Los Angeles, et al


       Dear Appellant/Counsel

       A copy of your notice of appeal/petition has been received in the Clerk's office of
       the United States Court of Appeals for the Ninth Circuit. The U.S. Court of
       Appeals docket number shown above has been assigned to this case. You must
       indicate this Court of Appeals docket number whenever you communicate with
       this court regarding this case.

       Motions filed along with the notice of appeal in the district court are not
       automatically transferred to this court for filing. Any motions seeking relief from
       this court must be separately filed in this court's docket.

       Please furnish this docket number immediately to the court reporter if you place an
       order, or have placed an order, for portions of the trial transcripts. The court
       reporter will need this docket number when communicating with this court.

       The due dates for filing the parties' briefs and otherwise perfecting the appeal
       have been set by the enclosed "Time Schedule Order," pursuant to applicable
       FRAP rules. These dates can be extended only by court order. Failure of the
       appellant to comply with the time schedule order will result in automatic
       dismissal of the appeal. 9th Cir. R. 42-1.
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                     UNITED STATES COURT OF APPEALS
                                                                     FILED
                             FOR THE NINTH CIRCUIT
                                                                     SEP 28 2022
                                                                    MOLLY C. DWYER, CLERK
                                                                     U.S. COURT OF APPEALS




    HEATHER BLANCHARD, as guardian              No. 22-55895
    ad litem for her minor child I.C.W.,
    successor-in-interest to Joseph Alan
                                                D.C. Nos.
    Wear,
                                                8:19-cv-02438-JVS-DFM,
                                                8:20-cv-00459-JVS-DFM,
                Plaintiff - Appellant,
                                                8:21-cv-00937-JVS-DFM,
    and                                         U.S. District Court for Central
                                                California, Santa Ana
    DONNELLE WEAR,
                                                TIME SCHEDULE ORDER
                Plaintiff,

     v.

    COUNTY OF LOS ANGELES;
    ADRIAN DE CASAS, Deputy Sheriff;
    JONATHAN PAWLUK, Deputy
    Sheriff; UNITED STATES OF
    AMERICA; CESAR GUERRO
    JAVIER ECHEVARRIA, United States
    Postal Service Postal Inspector/Police
    Officer; JOSEPH PAVON, United
    States Postal Service Postal
    Inspector/Police Officer; F. TALABI,
    United States Postal Service Postal
    Inspector/Police Officer,

                Defendants - Appellees.



  The parties shall meet the following time schedule.
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  If there were reported hearings, the parties shall designate and, if necessary, cross-
  designate the transcripts pursuant to 9th Cir. R. 10-3.1. If there were no reported
  hearings, the transcript deadlines do not apply.

   Wed., October 5, 2022        Appellant's Mediation Questionnaire due. If your
                                registration for Appellate CM/ECF is confirmed after
                                this date, the Mediation Questionnaire is due within
                                one day of receiving the email from PACER
                                confirming your registration.
   Wed., October 26, 2022       Transcript shall be ordered.
   Mon., November 28, 2022 Transcript shall be filed by court reporter.
   Thu., January 5, 2023        Appellant's opening brief and excerpts of record
                                shall be served and filed pursuant to FRAP 31 and
                                9th Cir. R. 31-2.1.
   Mon., February 6, 2023       Appellees' answering brief and excerpts of record
                                shall be served and filed pursuant to FRAP 31 and
                                9th Cir. R. 31-2.1.

  The optional appellant's reply brief shall be filed and served within 21 days of
  service of the appellees' brief, pursuant to FRAP 31 and 9th Cir. R. 31-2.1.

  Failure of the appellant to comply with the Time Schedule Order will result in
  automatic dismissal of the appeal. See 9th Cir. R. 42-1.

                                                  FOR THE COURT:

                                                  MOLLY C. DWYER
                                                  CLERK OF COURT

                                                  By: Ruben Talavera
                                                  Deputy Clerk
                                                  Ninth Circuit Rule 27-7
